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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                         *
                                                  *
                       Plaintiff,                 *
vs.                                               *      No. 4:08cr00317 SWW
                                                  *
                                                  *
CRAIG A. HAGERTY and                              *
ANGELA L. HAGERTY,                                *
                                                  *
                       Defendants.                *

                                                ORDER

        The motion of defendant Angela L. Hagerty [doc.#46] for in camera review of financial

documents is hereby granted. Defendant is directed to submit her financial affidavit to these

chambers for in camera review within ten (10) days of the date of entry of this Order after which

the Court will file the affidavit under seal.

        The Court notes that the caption of defendant Angela L. Hagerty’s pleadings have the

wrong name, i.e. “John Phillip Beall, Jr.” The Court would request that counsel for defendant

correct this oversight in future filings.


                        IT IS SO ORDERED this 2nd day of April 2009.


                                                /s/Susan Webber Wright
                                                UNITED STATES DISTRICT JUDGE
